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    AO 199A (Rev. 12111) Order Setting Col}ditions ofRelease                                                    Page I of   3   Pages



                                           UNITED STATES DISTRICT COURT
                                                                         for the                                  ll D
                                                               Eastern District of California                   JUL 3 1 2018
                                                                                                          CLERK, l~.S. DISTRICT COURT
                                                                                                        EASTERN DI$TR_ICT OF CALIFORNIA
                       United States of America                              )
                                      v.                                                                BV       ~
                                                                             )                                      DUTVCR~
                                                                             )        Case No. ·1 :18-cr-00135-DAD-BAM
               BAN DAR GAMAL SALEH ALNAGGAR                                  )
                                  Defendant                                  )

\                                          ORDER SETTING CONDITIONS OF RELEASE

    IT IS ORDERED that the defendant's release is subject to these conditions:

    (1)   The defendant.must not violate federal, state, o~ local law while on release.

    (2) The defendant must cooperate in the collection of a DNA sample if it is authori~ed by 42 U_.S.C. § 14135a.

    (3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
        any change of tesidence or telephone number.                                                                 ·

    (4) The defendant must appear in court as required and, if convicted, must surrender as directed to. serve a sentence that
        the court may impose.

          The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                                Place
          Courtroom 8 before Magistrate Judge Barbara A. McAuliffe

          on                                                          09/10/2018 at 01:00PM
                                                                           Date and Time

          If blank, defendant will be notified of next appearance.

    (5)   The defendant must sign an Appearance Bond, if ordered.
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 AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions ofRelease (General)                                        Page   [I) of [1] Pages
 ALNAGGAR, Bandar Gamal Saleh
 Doc. No. 1:18-CR-00135-DAD-BAM
                         ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked
below:

 D     (6)       The defendant is placed in the custody of:

                   Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the
         appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
         defendant violates any conditions of release or disappears.

                   SIGNED: ______________________~
                                CUSTODIAN
 0     (7)       The defendant must:
       0         (a) report on a regular basis to the following agency:
                     Pretrial Services and comply with their rules and regulations;
                 (b) report in person to the Pretrial Services Agency on the first working day following your release
                     from custody;
                 (c) reside at a location approved by the PSO, and not move or be absent from this residence for
                     more than 24 hrs. without prior approval of PSO; travel restricted to Eastern District of
                     California, unless otherwise approved in advance by PSO;
                 (d) report any contact with law enforcement to your PSO within 24 hours;
                 (e) not associate or have any contact with co-defendants (except uncle and cousin), unless in the
                     presence of counsel or otherwise approved in advance by the PSO;
                 (t) maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                 (g) not possess, have in your residence, or have access to a firearm/ammunition, destructive
                     device, or other dangerous weapon; additionally, you must provide written proof of divestment
                     of all firearms/ammunition, currently under your control;
                 (h) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled
                     substance without a prescription by a licensed medical practitioner; and you must notify
                     Pretrial Services immediately of any prescribed medication(s). However, medical marijuana,
                     prescribed and/or recommended, may not be used; '
                 (i) surrender your passport to the Clerk, United States District Court, and obtain no passport
                     during the pendency of this case;
                 G) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of
                     the conditions of release, the following sum of money or designated property: A $100,000
                     property bond, secured by equity in property owned by Saleh Ahmed Alnajar; and,

                 USMS SPECIAL INSTRUCTIONS:

                 (k) your release on bond will be delayed until the posting of t~e property bond in this matter.
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AO 199C (Rev. 09/08- EDCA [Fresno]) Advice of Penalties                                                     Page   3       of   3   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the'conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for riot more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                Directions to the United States Marshal
                                                                                  I


( [Z]) The defendant is ORDERED released after processing.



       7/30/18
D&e: ____________________ __
                                                                                   Judicial Officer's Signature

                                                          Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                     Printed name and title




                    DISTRIBUTION:      COURT      DEFENDANT     PRETRIAL SERVICE     U.S. ATTORNEY          U.S. MARSHAL
